                                          Entered on Docket
                                          March 19, 2021
                                          EDWARD J. EMMONS, CLERK
                                          U.S. BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF CALIFORNIA


                                           Signed and Filed: March 19, 2021
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 4                                      __________________________________________
                                        HANNAH L. BLUMENSTIEL
 5                                      U.S. Bankruptcy Judge

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 7                          UNITED STATES BANKRUPTCY COURT
 8                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9   In re:                                   ) Case No. 20-30242 HLB
                                              )
10   ANTHONY SCOTT LEVANDOWSKI,               ) Chapter 11
                                              )
11                     Debtor.                )
                                              )
12   ANTHONY SCOTT LEVANDOWSKI,               )
                                              ) Adv. Proc. No. 20-3050 HLB
13                     Plaintiff,             )
     v.                                       )
14                                            )
     UBER TECHNOLOGIES, INC.,                 )
15                                            )
                       Defendant.             )
16                                            )
17
                     ORDER PURSUANT TO BANKRUPTCY RULE 9018
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           On March 16, 2021, the court received correspondence from
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     counsel for Uber Technologies, Inc. (“Uber”).                      Uber’s counsel
20
     asked the court to restrict public access to the following
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     documents (the “Relevant Documents”):                 Dkts. 62, 63, 67, and 68.
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     The court had previously entered orders approving the redaction
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     of the Relevant Documents, 1 but due to technical issues of which
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     the parties were previously unaware, some of the redacted
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     material was visible under certain circumstances.                      Uber’s counsel
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     1 Dkt. 66 (pertaining to Dkts. 62 and 63); Dkt. 73 (pertaining to Dkts. 67 and
28
     68).



Case: 20-03050   Doc# 152    Filed: 03/19/21 - Entered:
                                                1 -     03/19/21 13:36:42     Page 1 of 4
 1   asks that the court restrict access to the Relevant Documents
 2   until they can be replaced with redacted versions that are
 3   technically sound.
 4        Rule 9018 of the Federal Rules of Bankruptcy Procedure
 5   permit the court to “make any order which justice requires . . .
 6   to protect the estate or any entity in respect of a trade secret
 7   or other confidential research, development, or commercial
 8   information.”    The court has already determined that the Relevant
 9   Documents contain material that falls within that which
10   Bankruptcy Rule 9018 protects, so the relief sought by counsel is
11   reasonable and appropriate.
12        Accordingly, the court ORDERS as follow:
13        1.     The Clerk of Court shall immediately restrict public
14   access to the Relevant Documents.
15        2.     Within 10 calendar days following entry of this order,
16   Uber’s counsel shall submit to the court via email to
17   benjamin_gapuz@canb.uscourts.gov technically sound, redacted
18   versions of the Relevant Documents, with which the court will
19   replace the defective versions of the Relevant Documents.                    The
20   submission of replacement Relevant Documents as permitted by this
21   order shall constitute Uber’s counsel’s certification that the
22   replacement Relevant Documents are identical in every way to the
23   original Relevant Documents, other than as to the rectification
24   of the technical issues described in this order.
25        3.     If Uber does not timely comply with this order,
26   paragraph 1 of this order shall cease to have any force or effect
27   and the Clerk of Court shall make the Relevant Documents
28   available to the public.



Case: 20-03050   Doc# 152   Filed: 03/19/21 - Entered:
                                               2 -     03/19/21 13:36:42   Page 2 of 4
 1        4.     If Uber timely complies with this order, once the Clerk
 2   of Court has replaced the defective versions of the Relevant
 3   Documents with the technically sound versions, the Clerk of Court
 4   shall make such replaced Relevant Documents once again available
 5   to the public, as redacted pursuant to court order.
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 7                                 **END OF ORDER**
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Case: 20-03050   Doc# 152   Filed: 03/19/21 - Entered:
                                               3 -     03/19/21 13:36:42   Page 3 of 4
                             Court Service List
[None]




Case: 20-03050   Doc# 152   Filed: 03/19/21   Entered: 03/19/21 13:36:42   Page 4 of 4
